                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1157                                                     September Term, 2024
                                                                            EPA-88FR36654
                                                                            EPA-89FR99105
                                                           Filed On: May 2, 2025
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                  Petitioner

         v.

Environmental Protection Agency and Lee M.
Zeldin, Administrator, U.S. EPA,

                  Respondents

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City Utilities of Springfield, Missouri, et al.,
                  Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317, 25-1054, 25-1055, 25-1057
                      United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 23-1157                                                       September Term, 2024


No. 24-1172
                                                                                 EPA-89FR23526
United States Steel Corporation,

                  Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                  Respondents

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Air Alliance Houston, et al.,
                  Intervenors
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Consolidated with 24-1176


         BEFORE:           Wilkins, Rao, and Walker, Circuit Judges

                                 ORDER AND STATEMENTS

        Upon consideration of the April 14, 2025 order holding these cases in abeyance,
which indicated that the reasons for the order would be issued at a later date, attached
are statements of Circuit Judge Rao and Circuit Judge Wilkins. Circuit Judge Walker
joins in the statement of Circuit Judge Rao.

                                              Per Curiam

                                                                FOR THE COURT:
                                                                Clifton B. Cislak, Clerk

                                                        BY:     /s/
                                                                Selena R. Gancasz
                                                                Deputy Clerk


                                                 Page 2
     RAO, Circuit Judge: EPA has begun reviewing its rules in
light of the priorities and policies of the new administration.
For the rule challenged here, Federal “Good Neighbor Plan”
for the 2015 Ozone National Ambient Air Quality Standards,
88 Fed. Reg. 36654 (June 5, 2023), the agency has identified
specific issues that have prompted it to reconsider its previous
approach. EPA attests that it plans to propose a new rule
addressing these problems and has informed the court it intends
to complete any final rulemaking by fall 2026. The agency has
requested the court either remand the rule or, in the alternative,
hold the challenges in abeyance pending this reconsideration.

     The court correctly holds these cases in abeyance. Because
a predictable flurry of similar motions occurs during each
presidential transition, I write to explain the considerations that
guide this court in exercising its discretion to hold a case in
abeyance. Furthermore, I suggest some reasons why
“remanding” a rule, without any consideration of the merits, is
inappropriate in these circumstances.

                                I.

     When a court holds a case in abeyance, it stays all
proceedings until the court directs otherwise. Basardh v. Gates,
545 F.3d 1068, 1069 (D.C. Cir. 2008) (per curiam). A court’s
authority to stay proceedings derives from its inherent power
to manage its docket. See Clinton v. Jones, 520 U.S. 681, 706
(1997). Whether to hold a case in abeyance is thus a matter of
discretion and judgment, which must take into account the
optimal use of judicial resources as well as the “competing
interests” of the parties. Landis v. N. Am. Co., 299 U.S. 248,
254–55 (1936). There are several circumstances in which
abeyance may be justified. See Ctr. for Biological Diversity v.
EPA, 56 F.4th 55, 79 (D.C. Cir. 2022) (Rao, J., dissenting)
(collecting examples). I focus here on abeyance sought when
an agency intends to review or reconsider a challenged
regulation.
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                                A.

     Although the decision to hold a case in abeyance is
committed to our discretion, “a motion to [the court’s]
discretion is a motion, not to its inclination, but to its judgment;
and its judgment is to be guided by sound legal principles.”
United States v. Burr, 25 F. Cas. 30, 35 (C.C.D. Va. 1807)
(Marshall, C.J.). Adherence to the rule of law demands we
exercise our discretion in a manner that provides consistent
treatment to similarly situated parties and to the government
across political transitions. See Martin v. Franklin Cap. Corp.,
546 U.S. 132, 139 (2005) (“Discretion is not whim, and
limiting discretion according to legal standards helps promote
the basic principle of justice that like cases should be decided
alike.”). While we often grant abeyance without explaining
how we are exercising discretion, our caselaw and practice
provide several guiding principles. Many of these principles
are drawn from cases granting abeyance because a case is
unripe. See, e.g., Am. Petrol. Inst. v. EPA, 683 F.3d 382, 386–
90 (D.C. Cir. 2012). Even when ripeness is not at issue,
however, similar prudential considerations guide our general
discretion to hold a case in abeyance in response to a motion
from one of the parties.

     First, the primary reason for holding a case in abeyance is
to promote judicial economy. “It is a cardinal virtue of Article
III courts to avoid unnecessary decisions and to promote
voluntary resolutions where appropriate.” Ctr. for Biological
Diversity, 56 F.4th at 71. Allowing resolution of a dispute
without the court’s intervention “conserve[s] judicial
resources” and “comports with our theoretical role as the
governmental branch of last resort.” Am. Petrol. Inst., 683 F.3d
at 386–87 (cleaned up); see also Landis, 299 U.S. at 255
(“Occasions may arise when it would be a scandal to the
administration of justice … if power to coordinate the business
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of the court efficiently and sensibly were lacking altogether.”)
(cleaned up). Abeyance may be warranted when there are
legitimate developments that could obviate the need for judicial
review, such as when a new administration chooses to
reevaluate its litigating position or when an agency plans to
reconsider a challenged rule. See, e.g., Order at 1, SSM Litig.
Grp. v. EPA, No. 23-1267 (D.C. Cir. Mar. 4, 2025); Sierra Club
v. EPA, 551 F.3d 1019, 1023 (D.C. Cir. 2008).

     Second, the interest in judicial economy must be weighed
against any potential prejudice to the parties. Landis, 299 U.S.
at 258–59. Even when abeyance would conserve judicial
resources, it might nevertheless be inappropriate if regulated
parties are likely to face “immediate and significant” hardship.
Am. Petrol. Inst., 683 F.3d at 389 (cleaned up). When the party
challenging a rule does not oppose the agency’s motion for
abeyance, the court will generally presume there is no hardship
and grant abeyance. See, e.g., Mississippi v. EPA, 744 F.3d
1334, 1341 (D.C. Cir. 2013) (noting the court had previously
granted an unopposed motion for abeyance to allow for
reconsideration of the challenged rule).

     Even when abeyance is opposed and a party points to some
hardship, the possibility of inconvenience will not
categorically outweigh the need for the sound use of judicial
resources. See Landis, 299 U.S. at 256. The court will instead
consider the nature and degree of any alleged hardship. For
instance, the fact that a directly regulated entity may be
“required to engage in, or refrain from, any conduct” weighs
heavier than the mere uncertainty or additional proceedings
that might result from deferred review. Devia v. Nuclear Regul.
Comm’n, 492 F.3d 421, 427 (D.C. Cir. 2007); Nevada v. Dep’t
of Energy, 457 F.3d 78, 86 (D.C. Cir. 2006). Moreover, when
a challenger will not be subject to the regulation while the case
is held in abeyance—such as when the rule has been stayed—
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a legitimate interest in judicial economy will likely prevail over
any alleged hardship. 1 See Order at 2, West Virginia v. EPA,
No. 15-1363 (D.C. Cir. Apr. 28, 2017) (granting a series of
requests for abeyance in litigation challenging a rule stayed by
the Supreme Court); cf. CTIA-The Wireless Ass’n v. FCC, 530
F.3d 984, 989 (D.C. Cir. 2008) (holding a case in abeyance on
prudential ripeness grounds because the challenged rule had
not yet taken effect).

    Third, when a court determines abeyance is warranted, it
must be mindful of the duration for which it will defer review.
The length of time a case is held in abeyance must be “kept
within the bounds of moderation” and limited to accommodate
the circumstances that prompted the stay in the first place.
Landis, 299 U.S. at 256; see also Jones, 520 U.S. at 707
(reversing a district court’s “lengthy and categorical stay” of
proceedings that “t[ook] no account whatever of the
respondent’s interest in bringing the case to trial”). In other

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  Regulatory challenges sometimes involve intervenors who support
the government’s efforts to regulate other parties. We have generally
declined to consider the hardship to such respondent-intervenors
when an agency seeks to reconsider a regulation. The hardship
inquiry typically focuses on “effects of a sort that traditionally would
have qualified as harm,” such as requiring parties to do or refrain
from doing certain activities or creating legal rights or obligations.
Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 733 (1998);
cf. Devia, 492 F.3d at 427 (focusing the hardship inquiry on
“challenging parties” and noting the parties “cite no case in which a
court actually considered the hardship to a respondent (or an
intervenor-respondent) of deferring a decision on a challenger’s
petition”) (cleaned up). Respondent-intervenors defending the
regulation of others do not suffer such traditional harms; they merely
benefit from the rule’s regulation of other parties and stand to lose
that benefit if the rule disappears. As such, their interests are
generally not part of the hardship inquiry.
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words, the length of a stay should depend on the reason
abeyance is granted. If the government needs time to reconsider
its litigation position, a short-term abeyance of sixty or ninety
days is typically justified. See, e.g., Order at 1, West Virginia
v. EPA, No. 24-1120 (D.C. Cir. Feb. 19, 2025) (granting
motion for sixty-day abeyance to accommodate change in
administration); Order at 1, Am. Fuel & Petrochem. Mfrs. v.
EPA, No. 19-1124 (D.C. Cir. Feb. 5, 2021) (granting motion
for ninety-day abeyance to accommodate change in
administration). By contrast, a longer abeyance, coupled with
periodic status reports, may be justified if an agency has
committed to reconsidering a challenged rule. See, e.g., Am.
Petrol. Inst., 683 F.3d at 389–90.

                               B.

     The considerations set forth above weigh heavily in favor
of holding these cases in abeyance. EPA has stated it intends to
reconsider the challenged rule—identifying particular issues
that are relevant to the petitioners’ challenges—and has
attested it plans to complete any new rule by fall 2026. None
of the petitioners oppose EPA’s motion. We have previously
explained that abeyance is appropriate when an agency
contemplates “a complete reversal of course … that, if
adopted, would necessitate substantively different legal
analysis and would likely moot the analysis we could undertake
if deciding the case now.” Am. Petrol. Inst., 683 F.3d at 388–
89. Allowing EPA to reconsider the rule might obviate the need
for our review and avoid the unnecessary expenditure of
judicial resources in a matter of immense complexity.

    Moreover, none of the parties will face substantial or
immediate hardship from holding these cases in abeyance. The
Supreme Court has stayed the enforcement of EPA’s rule
pending the Court’s review, and EPA has effectively stayed the
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rule for every state in which it originally applied. See Ohio v.
EPA, 144 S. Ct. 2040, 2058 (2024); 88 Fed. Reg. 49295 (July
31, 2023); 88 Fed. Reg. 67102 (Sept. 29, 2023); 89 Fed. Reg.
87960 (Nov. 6, 2024). As a result, regardless of how this court
might eventually resolve the merits of the current challenges,
the practical status quo will not change until, at a minimum, the
Supreme Court completes its review or EPA completes a new
rulemaking to lift its administrative stays. 2

     In similar situations, this court generally grants abeyance. 3
Because judicial economy will be served without any hardship
to the parties, it is appropriate to “hold the case[s] in abeyance
pending resolution of the proposed rulemaking, subject to


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   Respondent-Intervenors oppose EPA’s motion for abeyance,
pointing to environmental and public health harms that may occur
while the rule is not in effect. Even assuming we should consider the
interests of Respondent-Intervenors, their claims of hardship are
unavailing. As part of the hardship analysis, this court may consider
“the likelihood that the [relevant parties] will prevail when the case
is finally adjudicated.” Basardh, 545 F.3d at 1069. The Supreme
Court has already held that the challenges to the rule are likely to
prevail on the merits, which suggests there will be less potential
prejudice to Respondent-Intervenors from delaying our review. See
Ohio, 144 S. Ct. at 2054.
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  See, e.g., Order at 1, California Cmtys. Against Toxics v. EPA, No.
21-1024 (D.C. Cir. Mar. 31, 2021) (holding matter in abeyance to
allow new administration to review and consider challenged
regulation); Order at 1, California v. Regan, No. 20-1357 (D.C. Cir.
Feb. 12, 2021) (same); Order at 1, New York v. Dep’t of Lab., No.
19-5125 (D.C. Cir. Feb. 8, 2021) (same); Order at 2, West Virginia
v. EPA, No. 15-1363 (D.C. Cir. Apr. 28, 2017) (same); Order at 1,
Murray Energy Corp. v. EPA, No. 16-1127 (D.C. Cir. Apr. 27, 2017)
(same); Order at 2, Walter Coke, Inc. v. EPA, No. 15-1166 (D.C. Cir.
Apr. 24, 2017) (same).
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regular reports from EPA on its status.” Am. Petrol. Inst., 683
F.3d. at 389.

                                II.

    When an agency seeks to reconsider a regulation, whether
during a presidential transition or otherwise, it sometimes
requests remand without vacatur. While we have occasionally
granted these requests, I have serious doubts that we have
authority to take this action with respect to a challenged rule.

     At the outset, it is important to recognize that abeyance and
remand without vacatur are mutually exclusive approaches.
When a case is held in abeyance, the court retains jurisdiction
and can revive the dispute at any time. When a case is
remanded, however, “this court does not retain jurisdiction,
and a new notice of appeal or petition for review will be
necessary if a party seeks review of the proceedings conducted
on remand.” D.C. Cir. Rule 41(b) (emphasis added). A court
therefore must choose to grant either abeyance or remand—it
cannot opt for both.

     I am skeptical this court has authority to remand a rule to
the agency without adjudicating the underlying merits. In
limited circumstances, we have granted remand without
vacatur after evaluating and deciding the merits of a challenge,
but that remedy is the exception not the rule. See Am. Great
Lakes Ports Ass’n v. Schultz, 962 F.3d 510, 518–19 (D.C. Cir.
2020) (explaining “vacatur is the normal remedy under the
APA” and that remand without vacatur is used only in
“exceptional” circumstances) (cleaned up). Putting aside the
general propriety of remand without vacatur, 4 it is difficult to

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  Numerous judges and commentators have argued we have no
authority to grant this remedy even after deciding the merits. See,
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identify any authority for this court to effectuate a remand,
which terminates the pending litigation, without any resolution
of the substantive merits.

    In these and other cases, EPA asks the court to remand the
rule to the agency without deciding the merits. We have
sanctioned this remedy—often called “voluntary remand”—on
several occasions without identifying or evaluating the source
of our authority. See, e.g., Util. Solid Waste Activities Grp. v.
EPA, 901 F.3d 414, 436–38 (D.C. Cir. 2018) (partially granting
an agency request to voluntarily remand a rule); Clean
Wisconsin v. EPA, 964 F.3d 1145, 1174–77 (D.C. Cir. 2020)
(same).

    Voluntary remand first appeared in our caselaw in the
context of individual agency determinations involving
adjudications and licensing. In these circumstances, we
analogized voluntary remand to the established power of
appellate courts to remand a case to a lower court for further
proceedings. See, e.g., Fleming v. FCC, 225 F.2d 523, 526
(D.C. Cir. 1955) (observing “it is not unusual for an appellate
body to remand causes for further proceedings without
deciding the merits”) (cleaned up). A decision by the court to
vacate an agency’s adjudication or license would usually result
in a remand for further administrative proceedings, and we
have explained that it is sometimes appropriate to let an agency
correct an error before judicial determination of the merits.

e.g., Checkosky v. SEC, 23 F.3d 452, 490 (D.C. Cir. 1994)
(Randolph, J., concurring) (“No statute governing judicial review of
agency action permits such a disposition and the controlling
statute—5 U.S.C. § 706(2)(A)—flatly prohibits it.”); John Harrison,
Remand Without Vacatur and the Ab Initio Invalidity of Unlawful
Regulations in Administrative Law, 48 BYU L. Rev. 2077, 2103–39
(2023) (questioning the statutory basis for remand without vacatur in
the APA and the Clean Air Act).
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Util. Solid Waste Activities Grp., 901 F.3d at 436 (“Remand
has the benefit of allowing agencies to cure their own mistakes
rather than wasting the courts’ and the parties’ resources
reviewing a record that both sides acknowledge to be incorrect
or incomplete.”) (cleaned up). In such instances, remand of an
individual agency decision sends the party back to the agency
for further proceedings in the same individual action.

     While we have analogized agencies to lower courts in the
context of individual determinations, we have never explained
how or why the analogy extends to agency rulemaking. The
analogy seems inapposite for several reasons. A final rule is
generally applicable to the public and cannot be revised
without the agency undertaking a new rulemaking, following
the procedures required by the Administrative Procedure Act.
See 5 U.S.C. § 553; Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.
State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983) (“[A]n
agency changing its course by rescinding a rule is obligated to
supply a reasoned analysis for the change.”). A judicial
directive to “remand” a rule for “reconsideration” does not
provide the agency with any authority to bypass the ordinary
APA requirements. The agency must still undertake a new
rulemaking to modify, amend, or repeal the challenged rule.
See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515
(2009) (“The [APA] makes no distinction … between initial
agency action and subsequent agency action undoing or
revising that action.”). Moreover, an agency does not need a
remand to reconsider a challenged rule—it can do so at any
time, including while challenges are pending before this court.
And because the remanded rule has not been vacated, it
remains legally binding on petitioners and other private parties
until a replacement rule is finalized.

     Finally, remand of a rule generally results in dismissal of
the case under circuit rules. This can have potentially severe
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consequences. Judicial review of many agency actions,
including the rule at issue here, is subject to strict statutes of
limitation or repose. See 42 U.S.C. § 7607(b)(1) (“Any petition
for review under this subsection shall be filed within sixty days
from the date notice of such promulgation, approval, or action
appears in the Federal Register.”); id. § 7607(b)(2) (providing
action that could be reviewed by filing a petition for review
“shall not be subject to judicial review in civil or criminal
proceedings for enforcement”). In these cases, the sixty-day
statutory clock from the original rule’s promulgation has long
since run. Granting remand here would likely leave petitioners
without judicial recourse if EPA ultimately fails to follow
through with a new rulemaking or resumes enforcement of the
challenged rule.

     Abeyance is well within the court’s recognized discretion
and does not carry the same risks as remand. Abeyance simply
holds the pending challenge and preserves the possibility of
judicial review in the event the agency’s reconsideration of its
rulemaking “takes an unforeseen turn.” Am. Petrol. Inst., 683
F.3d at 389.

                              ***

     When an agency seeks to reconsider a rule challenged in
court, it should request abeyance. The court may exercise
discretion to suspend consideration of the case for a reasonable
period based on the factors discussed above. Abeyance is
warranted here while EPA considers a replacement for the rule
challenged in this litigation.
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     WILKINS, Circuit Judge: While the EPA did not commit
to proposing a new Rule, the agency has stated that it “intends
to diligently and timely undertake . . . reconsideration [of the
Rule] and to complete any new rulemaking by Fall 2026.” EPA
Motion for Remand at 1. Given those circumstances and the
emergency stay of the Rule entered by the Supreme Court, I
agree to hold the cases in abeyance. Our Court has received a
variety of motions to remand and/or hold cases in abeyance
over the past several decades, and they are usually resolved by
unpublished orders which are difficult to research, so I do not
feel comfortable attempting to distill comprehensively our
practices and considerations when ruling on such
motions. Regarding the issue of voluntary remand without
vacatur, none of the parties have raised or briefed the issue as
to whether the past practices of our Court have been
inappropriate, and thus I see no need to opine on the issue at
this time.
